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                                      UNITED STATES DISTRICT COURT
                                      NORTHERN DISTRICT OF CALIFORNIA

 CEDRIC DE LISSER, CHRISTOPHER MOSER, and
 MICHAEL MICHELIN, in their capacity as the Trustees of
 the Cred Liquidation Trust,                                                   CASE No C 3:23-cv-00243-JD


                                           Plaintiff(s)
                                                                               ADR CERTIFICATION BY
 v.
 LOCKTON INSURANCE COMPANY LLC, d/b/a LOCKTON INSURANCE BROKERS
                                                                               PARTIES AND COUNSEL
 LLC, a Missouri limited liability company, LOCKTON COMPANIES, LLC — PACIFIC
 SERIES, d/b/a LOCKTON INSURANCE BROKERS LLC, a Missouri limited liability
 company; and DOES 1-10, inclusive.

                                           Defendant(s)

Pursuant to Civil L.R. 16-8(b) and ADR L.R. 3-5 (b), each of the undersigned certifies that he or
she has:

      1) Read the handbook entitled "Alternative Dispute Resolution Procedures Handbook"
         (available at cand.uscourts.gov/adr).
      2) Discussed with each other the available dispute resolution options provided by the Court
         and private entities; and
      3) Considered whether this case might benefit from any of the available dispute resolution
         options.
 Date: March 23, 2023                                                          /s/ Carlton Callenbach (on behalf of Defendants)
                                                                                                       Party
 Date: March 23, 2023                                                          /s/ Renita N. Sharma
                                                                                                      Attorney

Counsel further certifies that he or she has discussed the selection of an ADR process with
counsel for the other parties to the case. Based on that discussion, the parties:
      CI intend to stipulate to an ADR process
      a prefer to discuss ADR selection with the Assigned Judge at the case management
           conference


       Date: March 23, 2023                                                    /s/ Renita N. Sharma
                                                                                                      Attorney




  Important.'E-file this form in ECF using event name: "ADR Certification (ADR Lit 3-5 b) of Discussion of ADR
  Options."



 Form ADR-Cert rev. 1-15-2019
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